Case 8:22-cv-01660-AEP   Document 77-6   Filed 07/20/23   Page 1 of 2 PageID 966




                  EXHIBIT F
8:22-cv-01660-AEP       Document 77-6            Filed 07/20/23             Page 2 of 2 PageID


          From:            Chris Wolf <cwolf011@gmail.com>
          Sent:            4/19/2022 10:26:09 AM -0500
          To:              Dawson Walker <dawson.walker@waterstonemortgage.com>
          Subject:         Castaneda appraisal
         Attachments:      Appraisal.pdf




          Chris Wolf




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